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                       IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

UNITED STATES OF AMERICA,                         §
                                                  §
                       Plaintiff,                 §
v.                                                §   Criminal Action No. 3:11-CR-0152-L
                                                  §
JASON ALLEN NEFF,                                 §
                                                  §
                       Defendant.                 §

                          MEMORANDUM OPINION AND ORDER

       Before the court is Defendant’s Motion for Disclosure of Brady/Giglio Information and

Motion for Early Production of Jencks Materials, filed September 13, 2012. After careful review

of the motions, responses, record, and applicable law, the court denies as requested Defendant’s

Motion for Disclosure of Brady/Giglio Information and Motion for Early Production of Jencks

Materials.

I.     Defendant’s Motion for Disclosure of Brady/Giglio Information

       Defendant moves this court to order the government to disclose immediately any

Brady/Giglio information to the defense. Def.’s Mot. for Disclosure of Brady/Giglio Information

and Mot. for Early Product. of Jencks Material and Mem. of Points and Authorities in Support

Thereof 1. In response, the government assures the court that it will fully comply with its disclosure

obligations under Brady and Giglio but opposes Defendant’s motion to the extent that he seeks

disclosure beyond that contemplated by the rules and applicable case law. Government’s Resp. to

Neff’s Joint Mot. for Disclosure of Brady/Giglio and Early Produc. of Jencks 1. Specifically, the

government argues that Brady was not intended to be a discovery tool for defendants; thus, it only



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has a duty to disclose evidence favorable to the defense       not to allow the defense to search the

government’s files for “possibly” exculpatory material. Id. at 4-5. The court agrees.

        The government acknowledges its duty to provide defendant with exculpatory evidence under

Brady and Giglio and that it has and will turn over all such material to the defense. The court

expects the government to comply fully with its disclosure obligations and do so in a timely manner;

however, the court determines that some of the items that Defendant requests and the timing with

which he requests them exceed what is contemplated by Brady and Giglio. There is no obligation

under Brady to produce evidence before trial. See United States v. McKinney, 758 F.2d 1036, 1049-

50 (5th Cir. 1985) (declining to impose a rule that Brady requires the government to turn over

evidence prior to trial). The government is only required to turn over such material to the defense

“in time to put it to effective use at trial.” Id. at 1050. Further, “Brady is not a discovery rule, but

a rule of fairness and minimum prosecutorial obligation.” United States v. Beasley, 576 F.2d 626,

630 (5th Cir. 1978). “Thus, the prosecutor is not required to deliver his entire file to defense

counsel, but only to disclose evidence favorable to the accused that, if suppressed, would deprive

defendant of a fair trial.” United States v. Bagley, 473 U.S. 667, 675 (1985) (footnote omitted). To

the extent that Defendant requests disclosure of more than the government is required to disclose

under law, those portions of Defendant’s Motion for Disclosure of Brady/Giglio Information are

denied. Once again, the court expects the government to comply with its obligations regarding

disclosure, and the government is fully aware of the sanctions that the court could impose for failure

to comply with those obligations.




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II.    Defendant’s Motion for Early Production of Jencks Material

       Defendant moves for early disclosure of Jencks material 30 days before the suppression

hearings. Def.’s Mot. for Disclosure of Brady/Giglio Information and Mot. for Early Produc. of

Jencks Material and Mem. of Points and Authorities in Support Thereof 1. In response, the

government contends that early disclosure of Jencks Act materials is not required under the law. The

government states that, however, pursuant to local practice, it will disclose such materials by

providing witness statements to Defendant no later than one day before that witness’s trial testimony.

Id. at 3. Therefore, Defendant’s request for such material is satisfied, the government argues, by its

voluntary production of witness statements prior to the witness’s testimony. The court agrees.

       To the extent that Defendant seeks disclosure of witness statements during pretrial discovery,

the government has no obligation to disclose such statements under the Jencks Act. The government

is required to disclose witness statements only after the witness’s direct examination testimony. 18

U.S.C. § 3500(b); United States v. Ramirez, 174 F.3d 584, 587 (5th Cir. 1999). Here, the

government has agreed to provide Defendant with witness statements prior to the witness’s

testimony, which it is not required by law to do. Therefore, the court will deny as requested

Defendant’s Motion for Early Production of Jencks Act Materials.

III.   Conclusion

       For the reasons herein stated, the court denies as requested Defendant’s Motion for

Disclosure of Brady/Giglio Information and Motion for Early Production of Jencks Materials.




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       It is so ordered this 18th day of December, 2012.



                                                   _________________________________
                                                   Sam A. Lindsay
                                                   United States District Judge




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